           Case 1:21-cv-02170-PEC Document 14 Filed 06/24/22 Page 1 of 4




            In the United States Court of Federal Claims
                                       No. 21-2170C

                                  (E-Filed: June 24, 2022)

                               NOT FOR PUBLICATION

                                           )
     BENNY LEE WILLIS,                     )
                                           )
             Plaintiff,                    )
                                           )    Motion for Reconsideration; RCFC
     v.                                    )    59(a).
                                           )
     THE UNITED STATES,                    )
                                           )
             Defendant.                    )
                                           )

                                           ORDER

       On March 14, 2022, plaintiff filed a motion for reconsideration of this court’s
January 6, 2022 order dismissing this case. See ECF No. 10 (motion for
reconsideration); ECF No. 8 (January 6, 2022 order of dismissal). Pursuant to the court’s
March 15, 2022 order, see ECF No. 12, defendant filed a response to plaintiff’s motion
on April 14, 2022, see ECF No. 13. For the following reasons, plaintiff’s motion for
reconsideration is DENIED.

I.        Background

        In his complaint, plaintiff focuses on decisions dismissing, and affirming the
dismissal of, plaintiff’s previously filed complaint by the United States District Court
for the Northern District of Illinois and the United States Court of Appeals for the
Seventh Circuit. See ECF No. 1 at 1. He claims the courts committed fraud by issuing
decisions with “fabricated evidence,” including a “cancelled criminal arrest warrant,”
and that in doing so, the courts violated plaintiff’s constitutional rights. Id. at 1-2; see
id. at 27-28 (claiming that the federal courts violated his rights under various
amendments to the United States Constitution, including the right “to petition the
Government for redress of grievances” under the First Amendment, the right to due
process under the Fifth Amendment, and the right to be free from “cruel and unusual
punishment,” the right to a jury trial under the Seventh Amendment, and the right to
         Case 1:21-cv-02170-PEC Document 14 Filed 06/24/22 Page 2 of 4




“equal protection” under the Fourteenth Amendment).

       Plaintiff requested that this court exercise its “‘equity jurisdiction’” to
adjudicate his claims, and demanded compensation in the amount of $36.5 million.
See id. at 26 (asking the court to exercise its equitable jurisdiction), 27-28 (demanding
$1.5 million in four paragraphs for a total of $6 million), 28 (demanding an additional
$3.5 million in two paragraphs for a total of $7 million); 29 (demanding an additional
$2.5 million in one paragraph and an additional $10.5 million in a second paragraph);
30 (demanding an additional $3.5 in three paragraphs for a total of $10.5 million).

        The court held that it lacked jurisdiction to consider plaintiff’s claims for three
reasons: (1) “[f]irst, this court is not authorized to consider claims alleging the
violation of constitutional rights that are not money-mandating,” and plaintiff did not
allege the violation of any such rights, ECF No. 8 at 3; (2) “[t]o the extent that plaintiff
means to allege claims against individual federal officials, this court likewise lacks
jurisdiction,” id. at 4; and (3) “this court lacks jurisdiction to collaterally review the
actions of federal district or appellate courts,” id. Therefore, the court dismissed the
case for lack of subject matter jurisdiction. See id. at 6.

       Plaintiff now seeks reconsideration of that order. See ECF No. 10.

II.    Legal Standards

       Rule 59(a) of the Rules of the United States Court of Federal Claims (RCFC)
governs motions for reconsideration, and provides that rehearing or reconsideration may
be granted:

       (A) for any reason for which a new trial has heretofore been granted in an
       action at law in federal court; (B) for any reason for which a rehearing has
       heretofore been granted in a suit in equity in federal court; or (C) upon the
       showing of satisfactory evidence, cumulative or otherwise, that any fraud,
       wrong, or injustice has been done to the United States.

RCFC 59(a)(1).

        The court, “in its discretion, ‘may grant a motion for reconsideration when there
has been an intervening change in the controlling law, newly discovered evidence, or a
need to correct clear factual or legal error or prevent manifest injustice.’” Biery v. United
States, 818 F.3d 704, 711 (Fed. Cir. 2016) (quoting Young v. United States, 94 Fed. Cl.
671, 674 (2010)). Motions for reconsideration must be supported “‘by a showing of
extraordinary circumstances which justify relief.’” Caldwell v. United States, 391 F.3d
1226, 1235 (Fed. Cir. 2004) (quoting Fru-Con Constr. Corp. v. United States, 44 Fed. Cl.
298, 300 (1999), aff’d, 250 F.3d 762 (Fed. Cir. 2000)). Such a motion, however, “‘may

                                               2
         Case 1:21-cv-02170-PEC Document 14 Filed 06/24/22 Page 3 of 4




not be used to relitigate old matters, or to raise arguments or present evidence that could
have been raised prior to the entry of judgment.’” Exxon Shipping Co. v. Baker, 554
U.S. 471, 485 n.5 (2008) (quoting 11 C. Wright & A. Miller, Federal Practice and
Procedure § 2810.1 (2d ed. 1995)). In addition, “a motion for reconsideration is not
intended . . . to give an ‘unhappy litigant an additional chance to sway’ the court.”
Matthews v. United States, 73 Fed. Cl. 524, 525 (2006) (quoting Froudi v. United States,
22 Cl. Ct. 290, 300 (1991)).

III.   Analysis

        In his motion, plaintiff seeks reconsideration of the court’s decision dismissing
this case because:

       justice require[]s that, the court reconsider if, rather or not, his complaint no.
       “21c2170” establishes the “preponderance of evidence” required to show,
       plaintiff’s entitlement to compensation from the federal Government for
       constitutional damages inflicted upon him by federal officials who, while
       acting their official capacity committed malfeasance, in case no., “12c1939”
       redressable by way of the court announcement made in “Bivens v. Six
       Unknown Named Agents of the Federal Bureau of Narcotics.”

ECF No. 10 at 2. Plaintiff contends that this court “share[s] concurrent jurisdiction with
district courts around the United States” to resolve such claims. Id. In support of these
arguments, plaintiff largely reiterates the claims he alleged in his complaint including
allegations that he was the victim of fraud committed by government officials acting in
their official capacity and that various of his constitutional rights were violated in the
context of a separate court proceeding. See id. at 2-4; ECF No. 10-1 (Statement of
Facts/Memorandum of Law filed in support of plaintiff’s motion).

        It appears to the court that plaintiff has a fundamental—even if good-faith—
misunderstanding of this court’s jurisdiction. As the court explained in its order of
dismissal, it simply does not have the authority to consider the claims alleged by plaintiff
in his complaint. See ECF No. 8 at 3-4. The exercise of subject-matter jurisdiction is not
discretionary. See RCFC 12(h)(3) (stating that “[i]f the court determines at any time that
it lacks subject-matter jurisdiction, the court must dismiss the action”) (emphasis added).

        Plaintiff presents no change in controlling law, newly discovered evidence, or
legal or factual error that would justify reconsideration in this case. Biery, 818 F.3d at
711. Nor has plaintiff alleged any circumstances that could fairly be understood as
extraordinary. Caldwell, 391 F.3d at 1235. As such, plaintiff has failed to make a legally
sufficient showing to justify reconsideration of this court’s January 6, 2022 order of
dismissal, ECF No. 10.


                                               3
        Case 1:21-cv-02170-PEC Document 14 Filed 06/24/22 Page 4 of 4




IV.    Conclusion

      Accordingly, for the foregoing reasons, plaintiff’s motion for reconsideration, ECF
No. 10, is DENIED.

      IT IS SO ORDERED.

                                         s/Patricia E. Campbell-Smith
                                         PATRICIA E. CAMPBELL-SMITH
                                         Judge




                                            4
